Case 1:04-cr-00189-CG-C              Doc# 71       Filed 05/31/05        Page 1 of 2        PageID# 251




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
                                                      )
vs.                                                   )    CRIMINAL NO. 04-0189-02-CG
                                                      )
JOHN LOVE,                                            )
                                                      )
        Defendant.                                    )


                                                 ORDER

        This matter is before the court on defendant’s motion for new trial or in the alternative, motion

for reconsideration or motion to reduce sentence (Doc. 68). Although filed as a Rule 33 motion for

new trial, the purpose of defendant’s motion is to obtain a reduction of his sentence. Defendant

pleaded guilty, and was adjudged guilty, on November 16, 2004. He did not go to trial, nor has he

filed a motion to withdraw his guilty plea. Therefore, to the extent the motion seeks a “new” trial under

Rule 33, F.R.Cr.P., it is denied.

        Defendant essentially asks to be re-sentenced because he feels the sentence was too harsh.

The motion asserts that if the court had been apprised of his alleged illiteracy and mental disability, the

sentence would have been different. The court knows of no mechanism for re-sentencing or reducing

the sentence of a defendant on grounds such as those alleged here. Even if such a procedure were

available, the court was adequately apprised of what the defendant terms his “mental disability”. The

presentence investigation report in this case notes the defendant’s “below-average” intelligence, and the

fact that he dropped out of school in the ninth grade after receiving low marks. It also notes that while

in school, the defendant was enrolled in special education classes. The court thus was aware of
Case 1:04-cr-00189-CG-C            Doc# 71       Filed 05/31/05      Page 2 of 2       PageID# 252




defendant’s mental status when it applied the guidelines and sentenced the defendant accordingly.

        For the foregoing reasons, the motion is DENIED.

        DONE and ORDERED this 31st day of May, 2005.


                                                   /s/ Callie V. S. Granade
                                                CHIEF UNITED STATES DISTRICT JUDGE




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